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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                          CIVIL ACTION

VERSUS                                                         NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                       SECTION: “I”(5)



                      ORDER SCHEDULING STATUS CONFERENCE

       A status conference in the above matter is hereby SCHEDULED for August 20, 2020

at 11:00 a.m. A Zoom for Government link will be circulated to counsel of record via email.

       New Orleans, Louisiana, this 17th day of      August           , 2020.




                                                        MICHAEL B. NORTH
                                                   UNITED STATES MAGISTRATE JUDGE
